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  From: Donn Davis
Subject: Hi Neens, Donn Davis here
   Date: January 8, 2024 at 1:20 PM
     To:

       Hello, good to meet and thank you for reaching out to me on LinkedIn.

       My operations team of Mike, Ray, and Jim are tremendous and as you can imagine I don’t get involved in individual fighter negotiations.
       Athletes of Gegard level also involve CEO Pete Murray.

       However, I am aware of Gegard given his very high compensation. Given Gegard is not PPV draw, and is not a Champion, his deal is very
       surprising.

       PFL is fighter first league, so we respect and empower all fighters.

       If he desires to have opportunities here then I can have Mike Kogan reach out to you and work on options with you.

       Donn Davis
       Chairman and Founder
       Professional Fighters League
